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                                            UNITED STATES DISTRICT COURT
                                           CENTRAL DISTRICT OF CALIFORNIA

                                                    CRIMINAL MINUTES - TRIAL


 Case No.          CR 22-482-GW                                                                          Date      October 24, 2023

 Present: The Honorable        GEORGE H. WU, U.S. DISTRICT JUDGE

 Interpreter        N/A

            Javier Gonzalez                    Terri A. Hourigan / Marea Woolrich                  Matthew W. O’Brien; Brian R. Faerstein

                                                                                                    Mark A. Williams; Juan M. Rodriguez
                Deputy Clerk                        Court Reporter/Recorder                                Assistant U.S. Attorney



                 U.S.A. v. Defendant(s):              Present Cust. Bond             DFPD Attorneys for Defendant:          Present App. Ret.

Jerry Nehl Boylan                                       U                U       Georgina Wakefield; Julia Deixler             U       U

                                                                                 Gabriela Rivera; Joshua D. Weiss



         Day COURT TRIAL                                1st     Day JURY TRIAL                                    Death Penalty Phase

         One day trial;         Begun (1st day);    U      Held & continued;            Completed by jury verdict/submitted to court.

  U      The Jury impanelment is held.

         Opening statements made

         Witnesses called, sworn and testified.

         Exhibits identified                                    Exhibits admitted
         Government rests.                         Defendant(s)                                                                            rest.

         Motion for mistrial by                                          is             granted                 denied               submitted

                  Motion for judgment of acquittal (FRCrP 29)            is             granted                 denied               submitted

         Closing arguments made                               Court instructs jury                          Bailiff sworn

         Alternates excused                                   Jury retires to deliberate                    Jury resumes deliberations

         Finding by Court as follows:                                          Jury Verdict as follows:

 Dft #                 Guilty on count(s)                                      Not Guilty on count(s)

         Jury polled                                          Polling waived

         Filed Witness & Exhibit lists               Filed Jury notes             Filed Jury Instructions                Filed Jury Verdict

         Dft #            Referred to Probation Office for Investigation & Report and continued to                              for sentencing.

         Dft #            remanded to custody.          Remand/Release#                    issd.          Dft #          released from custody.

         Bond exonerated as to Dft #

  U      Case continued to       October 25, 2023 at 8:00am       for further impanelment and trial.
  U      Other:      Cedric Bullock, US Marshal and Devona Garnder, USPT are present re transportation request by the Defendant.
                     The U.S. Marshals, Pretrial Services or CJA cannot accommodate the request. The Court withdraws its Order
                     issued on September 21, 2023 [137].
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                Juror Questionnaires are filled out and voir dire process is held and continued.
                                                                                                        5   :   30
                                                                       Initials of Deputy Clerk    JG




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